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 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     MARCO CABEZAS,                                     CASE NO. 2:21-cv-6389
10
                           Plaintiff,                   COMPLAINT:
11
     vs.                                                1.   SEXUAL HARASSMENT
12                                                           (Hostile Work Enviornment)
     FLINT GROUP, LLC, A MICHIGAN                       2.   RACE DISCRIMINATION
13   BUSINESS ENTITY, JOSE GOMEZ, and,                       (Disparate Treatment)
     DOES 1 through 100, inclusive,                     3.   DISABILITY DISCRIMINATION
14                      Defendants.                     4.   FAILURE TO PREVENT
                                                             HARASSMENT And
15                                                           DISCRIMINATION
                                                             [Violation Of Cal. Govt.
16                                                           Code §12940(K)];
                                                        5.   RETALIATION
17                                                           [Violation Of Cal. Govt.
                                                             Code §12940(f);
18                                                      6.   FAILURE TO ACCOMMODATE;
                                                        7.   FAILURE TO ENGAGE IN
19                                                           INTERACTIVE PROCESS;
                                                        8.   INTENTIONAL INFLICTION
20                                                           OF EMOTIONAL DISTRESS;

21                                                           DEMAND FOR JURY TRIAL

22   PLAINTIFF alleges as follows:
23          All allegations in this Complaint are based upon information and belief except for

24   those allegations which pertain to PLAINTIFF and his counsel. PLAINTIFF’s information
     and belief are based upon inter alia, the investigation conducted to date by PLAINTIFF and
25
     his counsel. Each allegation in this Complaint either has evidentiary support or is likely to
26
     have evidentiary support after a reasonable opportunity for further investigation and
27   discovery.
28                              ALLEGATIONS COMMON TO ALL

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 1                                     CAUSES OF ACTION
 2   THE PARTIES
            1.     Marco Cabezas (“PLAINTIFF”) is and was, at all times mentioned herein:
 3
                   (a)    A resident of San Bernandino County,
 4
                          California; and,
 5
                   (b)    Employed by Defendant Flint Group LL
 6                        (“FLINT GROUP ”)
 7                 (c)    Unlawfully discriminated, harassed and
 8                        retaliated against by Defendants.

 9          2.     PLAINTIFF is informed and believes, and based upon that information and
     belief alleges that DEFENDANT FLINT GROUP LLC (“DEFENDANT FLINT GROUP”)
10
     is and was, at all times mentioned herein:
11
                   (a)    A Private Employer of PLAINTIFF.
12                 (b)    Doing business in San Bernandino County , California;
13                 (c)    Unlawfully discriminated, retaliated and harassed PLAINTIFF.
14
15          3.     PLAINTIFF is informed and believes, and based upon that information and
     belief alleges that DEFENDANT JOSE GOMEZ (“GOMEZ”) is and was, at all times
16
     mentioned herein:
17
                   (a)    PLAINTIFF’s Supervisor at FLINT GROUP;
18
                   (b)    Unlawfully discriminated, retaliated and harassed PLAINTIFF.
19          4.     The true names and capacities, whether individual, corporate, partnership,
20   associate, or otherwise of DEFENDANT DOES 1 through 99, inclusive is unknown to
21   PLAINTIFF who therefore sues these DEFENDANTS by such fictitious names pursuant to

22   California Code of Civil Procedure §474. PLAINTIFF will seek leave to amend this First
     Amended Complaint to allege their true names and capacities when they are ascertained.
23
            5.     PLAINTIFF is informed and believes, and based on that information and
24
     belief alleges that DEFENDANTS named in this Complaint, including DOES 1 through
25   100, inclusive, is responsible in some manner for one or more of the events and
26   happenings, and proximately caused the injuries and damages, hereinafter alleged.
27          6.     PLAINTIFF is informed and believes, and based upon that information and
28

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 1   belief alleges, that each of the DEFENDANTS named in this Complaint, including DOES 1
 2   through 100, inclusive, is, and at all times mentioned herein was, the agent, servant, and/or
     employee of each of the other DEFENDANTS, and that each DEFENDANT was acting
 3
     within the course and scope of his, his, or its authority as the agent, servant, and/or
 4
     employee of each of the other DEFENDANTS. Consequently each DEFENDANT is
 5
     jointly and severally liable to PLAINTIFF for the damages sustained as a proxima te result
 6   of their conduct.
 7   BACKGROUND ALLEGATIONS
 8          7.      PLAINTIFF was hired by DEFENDANT FLINT GROUP in or

 9   About February 2003. PLAINTIFF received raises, promotions and praise for his work at
     FLINT GROUP. PLAINTIFF was employed until approximately August 2019, when he
10
     was unlawfully terminated. During the tenure of his employment, PLAINTIFF performed
11
     his job duties in an exemplary manner.
12          8.      DEFENDANT FLINT GROUP allowed, condoned, instigated and created a
13   discriminatory and hostile work environment towards PLAINTIFF. PLAINTIFF was
14   bullied, harassed and discriminated against by DEFENDANT GOMEZ. PLAINTIFF was
15   called derogatory names, harassed, and discriminated against by individuals employed by
     DEFENDANTS . The conduct was consistent and pervasive towards PLANTIFF.
16
     PLAINTIFF reported the discriminatory, harassing and retaliatory conduct to Human
17
     Resources, as well as to upper management, however, DEFENDANT FLINT GROUP
18
     continued to allow the hostile work environment to exist towards PLAINTIFF, retaliated
19   against PLAINTIFF, and further harassed and discriminated against PLAINTIFF.
20          9.      Throughout this time, PLAINTIFF complained, reported and requested that
21   the FLINT GROUP take action to correct, remedy and discipline the employee(s) that were

22   harassing and creating the hostile work environment. Plaintiff complained to the harasser’s
     supervisor, as well as Human Resources.
23
            10.     Throughout this period PLAINTIFF began experiencing fear, anxiety and
24
     depression (amongst other symptoms) due to the harassment, hostile work environment,
25   and lack of investigative or corrective action by the FLINT GROUP.
26          11.     In or around October 2018, PLAINTIFF was diagnosed with a physical and
27   mental disability. PLAINTIFF’S medical provider took him off of work due to the
28   disability.


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 1
 2          12.     Upon PLAINTIFF’s return from her medical leave, PLAINTIFF was placed
     in the same hostile work environment as before, as a result, he began to experience the
 3
     same symptoms of fear, anxiety and depressions as before his medical leave. PLAINTIFF
 4
     expressed this to DEFENDANT FLINT GROUP and requested accommodations however,
 5
     DEFENDANT FLINT GROUP failed to accommodate PLAINTIFF’s request, and failed to
 6   discuss what accommodations it could make to assist PLAINTIFF.
 7          13.    Throughout this period, PLAINTIFF requested that DEFENDANTS stop
 8   harassing, bullying, denigrating, and creating and retaliatory environment. Moreover,

 9   PLAINTIFF reported these incidents to DEFENDANT FLINT GROUP, including but not
     limited to the Human Resource, however, no action was taken against Defendant GOMEZ.
10
            14.    On or about August 7, 2020, PLAINTIFF filed a Complaint with the
11
     California Department of Fair Employment and Housing, charging DEFENDANT FLINT
12   GROUP with harassment, retaliation and racial and disability discrimination in violation of
13   the California Fair Employment and Housing Act (FEHA). Furthermore, PLAINTIFF has
14   complied with the Claims process for filing personal injury claims against the FLINT
15   GROUP.
                                 FIRST CAUSE OF ACTION FOR
16
                           HARASSMENT (Hostile Work Environment)
17
                                        (Against Defendants)
18
            15.    PLAINTIFF repleads and realleges paragraphs 1 through 14, inclusive, of
19   this Complaint, and they are incorporated herein by reference.
20          16.   Jurisdiction in this court is invoked pursuant to the FAIR EMPLOYMENT
21   AND HOUSING ACT ["FEHA "], i.e., Gov. Code § § 12900, 12921, 12926, 12940 and

22   12965, specifically Section 12940 (j).
            17. DEFENDANTS are entities and/or individuals with an obligation under the
23
     law to assure an environment in which its employees can work freely without fear of
24
     harassment on the basis of their race, disability and/or because they oppose and report any
25   business practices forbidden under the law.
26          18. DEFENDANTS have engaged, allowed, condoned, enabled and refused to
27   prevent the harassment of PLAINTIFF, by its managerial/supervisory officials and by its
28   non-managerial employees.


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 1          19.    The harassment described herein, and otherwise described above, was and is
 2   so severe and pervasive that the working conditions of PLAINTIFF was altered into a
     hostile work environment.
 3
            20.    As a direct and proximate result of such unlawful conduct by
 4
     DEFENDANTS and DOES 1 through 100 inclusive, and/or their agents/employees,
 5
     PLAINTIFF has suffered and will continue to suffer physical injuries, pain and suffering,
 6   and extreme and severe mental anguish and emotional distress.
 7          21.    As a further direct and proximate result of said tortious acts, omissions, or
 8   conduct of the DEFENDANTS and DOES 1 through 100 inclusive, and/or their

 9   agents/employees, PLAINTIFF sustained and incurred losses and damages which are
     itemized as follows:
10
                   (a)      Expenditures for medical care, treatment and services in connection
11
                   with the aforementioned injuries, in a sum to be determined according to
12                 proof at the time of trial;
13                 (b)      Disabling and serious pain, suffering, and anguish in connection
14                 therewith, all to PLAINTIFF’s general damage in a sum in excess of the
15                 minimum jurisdictional amount of this Court; and,
                   (c)      Inability to perform PLAINTIFF’s regulated and usual occupation,
16
                   with resulting loss and impairment of earnings and earning capacity, all to
17
                   PLAINTIFF’s damage in a sum to be determined according to proof at the
18
                   time of trial.
19          22.    The conduct of DEFENDANTS alleged herein was malicious, willful, and
20   oppressive with the intent to physically harm PLAINTIFF. DEFENDANTS engaged in
21   despicable conduct and acted with the conscious disregard of PLAINTIFF’s rights and with

22   an intent to injure PLAINTIFF, such as to constitute oppression and malice under
     California Code of Civil Procedure §3294. PLAINTIFF is thereby entitled to punitive and
23
     exemplary damages in an amount sufficient to punish and make an example of
24
     DEFENDANTS.
25                                  SECOND CAUSE OF ACTION
26                   RACIAL DISCRIMINATION IN VIOLATION OF FEHA
27                                       (Disparate Treatment)
28                                       (Against Defendants)


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 1           23.     PLAINTIFF re-alleges and incorporates by this reference each and every
 2   allegation contained in paragraphs 1 through 22, inclusive, as though fully set forth herein.
            24.      This is a claim for relief arising from racial discrimination in employment. This
 3
     action is brought pursuant to the FEHA.
 4
            25.     Jurisdiction in this court is invoked pursuant to California Government Code §
 5
     § 12900, 12921, 12926, 12940 and 12965, specifically Sections 12940(a), 12941 and
 6   12921(a) [Collectively referred to as “FEHA”]. Defendant FLINT GROUP is not exempt from
 7   the statutes cited in this paragraph by any local, state or federal laws.
 8          26.     Defendant FLINT GROUP is an employer in the State of California, as defined

 9   in the California Fair Employment and Housing Act, California Government Code §§12900 et
     seq., (“FEHA”).
10
            27.      PLAINTIFF is an Hispanic-American, a member of a protected class.
11
            28.      PLAINTIFF has been subjected to discrimination based on his race.
12
            29.     The discriminatory acts described pursuant to the preceding paragraphs are
13   part of a longstanding, deep-rooted policy and/or practice by the management of FLINT
14   GROUP to discriminate against PLAINTIFF because of his race.
15          30.     FLINT GROUP at all times relevant herein disparately applied its alleged rules
16   to PLAINTIFF based on his race.

17          31.     The FLINT GROUP , including managers and supervisors, were either aware
     of the racial discrimination described herein and took no action to prevent it and/or they
18
     actively participated in the discrimination. PLAINTIFF has petitioned the management of
19
     the FLINT GROUP to stop such discriminatory practices. Because such petitions were
20
     ignored, PLAINTIFF was required to file administrative complaints with the Department of
21
     Fair Employment and Housing, and to initiate the current lawsuit.
22          32.      FLINT GROUP ’s discriminatory actions against PLAINTIFF, as alleged herein,
23   constituted unlawful discrimination in employment on account of race, in violation of the
24   California Constitution, Government Codes and Labor Codes referenced above.
25          33.     As a direct and proximate result of FLINT GROUP ’S discriminatory actions
     against PLAINTIFF, as alleged above, PLAINTIFF has been harmed in that he has suffered
26
     physical and emotional injury, consequential and incidental losses, including but not limited to
27
     loss of income and benefits.
28

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 1          33.     As a further proximate result of FLINT GROUP ’S despicable discriminatory
 2   actions, as alleged above, PLAINTIFF has suffered general and compensatory damages in that
     PLAINTIFF has foreseeable suffered humiliation, mental anguish, severe emotional and
 3
     physical distress, and has been injured in mind and body in an amount according to proof.
 4
            34.     As a further and proximate result of FLINT GROUP ’S despicable
 5
     discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
 6   attorneys’ fees pursuant to the Fair Employment and Housing Act, California Government Code
 7   § 12900, et seq.
 8                                    THIRD CAUSE OF ACTION

 9                  DISABILITY DISCRIMINATION IN VIOLATION OF FEHA
                                   (Against Defendant FLINT GROUP )
10
            35.     PLAINTIFF re-alleges and incorporates by this reference each and every
11
     allegation contained in paragraphs 1 through 34, inclusive, as though fully set forth herein.
12
            36.     California Government Code section 12940(a) provides that it is unlawful for any
13   employer to refuse to employ or to discriminate against a person in compensation or in terms,
14   conditions, or privileges of employment because of that person’s physical disability.
15          37.     At all times relevant hereto, FLINT GROUP was an employer, and PLAINTIFF

16   was an employee of FLINT GROUP .
            38.     Defendant knew that Plaintiff had a physical disability.
17
            39.     Plaintiff was able to perform the essential job duties of his position.
18
            40.     Defendant refused to allow Plaintiff to work because of his physical disability.
19          41.     In committing these actions, Defendant violated the Fair Employment and
20   Housing Act.
21          42.     As a proximate result of FLINT GROUP ’S despicable discriminatory actions,
22   as alleged above, PLAINTIFF has suffered general and compensatory damages in that
     PLAINTIFF has foreseeable suffered humiliation, mental anguish, severe emotional and
23
     physical distress, and has been injured in mind and body in an amount according to proof. As a
24
     proximate result of the acts of Defendant, Plaintiff has suffered damages in an amount according
25
     to proof.
26          43.     As a further and proximate result of FLINT GROUP ’S despicable
27   discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
28

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 1   attorneys’ fees pursuant to the Fair Employment and Housing Act, California Government Code
 2   § 12900, et seq.

 3
 4                                 FOURTH CAUSE OF ACTION
              FAILURE TO PREVENT DISCRIMINATION AND HARASSMENT
 5
                                      (Against FLINT GROUP )
 6
            44.     PLAINTIFF repleads and realleges paragraphs 1 through 43, inclusive, of
 7
     this Complaint, and they are incorporated herein by this reference.
 8          45.     In violation of California Government Code §12940(k), FLINT GROUP
 9   and/or its agents/employees, failed to take all reasonable steps to prevent the discrimination
10   and harassment directed toward PLAINTIFF.

11          46.     PLAINTIFF is informed and believes and thereon allege that this cause of
     action is not preempted by the California Workers' Compensation Act on the grounds
12
     that discrimination and harassment on the basis of race/disability are not risk s or conditions
13
     of PLAINTIFF’S employment.
14          47.     As a direct and proximate result of FLINT GROUP failure to prevent the
15   unlawful conduct towards PLAINTIFF, PLAINTIFF has suffered and will continue to
16   suffer physical injuries, pain and suffering and extreme and severe mental anguish and
17   emotional distress; PLAINTIFF has incurred and will continue to incur medical expenses
     for treatment by psychiatrists and other health professionals, and for other incidental
18
     medical expenses; and PLAINTIFF has suffered and continues to suffer a loss of earnings
19
     and other employment benefits. PLAINTIFF is thereby entitled to general and
20
     compensatory damages in amounts to be proven at trial.
21          48.     As a further and proximate result of FLINT GROUP ’S despicable
22   discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
23   attorneys’ fees pursuant to the Fair Employment and Housing Act, California Government

24   Code § 12900, et seq.
                                 FIFTH CAUSE OF ACTION FOR
25
                                            RETALIATION
26
                                      (Against FLINT GROUP )
27          49.     PLAINTIFF repleads and realleges paragraphs 1 through 48, inclusive, of
28   this Complaint, and they are incorporated herein by this reference.

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 1           50.   At all relevant times herein and in violation of California Government Code
 2   §12940(f),FLINT GROUP and/or their agents/employees, retaliated against PLAINTIFF
     by adversely affecting PLAINTIFF’s employment after he complained, rebuked and
 3
     opposed the incidents that have occurred with regard to DEFENDANTS, as alleged herein.
 4
             51.   As a direct and proximate result of FLINT GROUP ’s unlawful conduct,
 5
     PLAINTIFF has suffered and will continue to suffer physical injuries, pain and suffering,
 6   and extreme and severe mental anguish and emotional distress. PLAINTIFF has incurred
 7   and will continue to incur medical expenses for treatment by psychiatrists and other health
 8   professionals, and for other incidental medical expenses; and PLAINTIFF has suffered and

 9   continues to suffer a loss of earnings and other employment benefits. PLAINTIFF is
     thereby entitled to general and compensatory damages in amount to be proven at trial.
10
             52.   As a further and proximate result of FLINT GROUP ’S despicable
11
     discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
12   attorneys’ fees pursuant to the Fair Employment and Housing Act, California Government
13   Code § 12900, et seq.
14                                   SIXTH CAUSE OF ACTION
15                     FAILURE TO ACCOMMODATE IN VIOLATION OF
                         THE FAIR EMPLOYMENT AND HOUSING ACT
16
                                         (Against FLINT GROUP )
17
             53.   The allegations of each of the preceding paragraphs are realleged and
18
     incorporated herein by reference.
19           54.   California Government Code section 12940(m) provides that it is unlawful for
20   any employer or any other covered entity to fail to make reasonable accommodation for the
21   known physical or mental disability of an employee.

22           55.   At all times relevant hereto, Defendant FLINT GROUP was aware of
     PLAINTIFF’s physical disability.
23
             56.   PLAINTIFF requested that Defendant FLINT GROUP accommodate his
24
     disability.
25           57.   Defendant FLINT GROUP unreasonably denied PLAINTIFF’s request.
26           58.    In committing these actions, Defendant FLINT GROUP violated the Fair
27   Employment and Housing Act.
28

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 1           59.     Defendant FLINT GROUP committed the acts alleged herein oppressively and
 2    maliciously, with the wrongful intention of injuring PLAINTIFF, from an evil and improper
      motive amounting to malice, and in conscious disregard of PLAINTIFF’s rights, in that
 3
      Defendant FLINT GROUP failed to accommodate Plaintiff despite the fact that Plaintiff
 4
      requested reasonable accommodation. Thus, PLAINTIFF is entitled to recover punitive
 5
      damages from Defendant FLINT GROUP .
 6           60.     As a proximate result of the acts of Defendant FLINT GROUP , PLAINTIFF has
 7    suffered damages in an amount according to proof.
 8           WHEREFORE, Plaintiff prays for judgment against Defendant FLINT GROUP as set

 9    forth below.
                                     SEVENTHCAUSE OF ACTION
10
            FAILURE TO ENGAGE IN INTERACTIVE PROCESS IN VIOLATION OF
11
                           THE FAIR EMPLOYMENT AND HOUSING ACT
12                                        (Against FLINT GROUP )
13           61.     The allegations of each of the preceding paragraphs are realleged and
14    incorporated herein by reference.
15           62.     California Government Code section 12940(n) provides that it is unlawful for
      any employer or covered entity to fail to engage in a timely, good faith, interactive process with
16
      the employee to determine effective reasonable accommodations, if any, in response to a request
17
      for reasonable accommodation by an employee with a known physical disability or known
18
      medical condition.
19           63.     At all times relevant hereto, Defendant FLINT GROUP was aware of
20    PLAINTIFF’s physical disability.
21           64.     Defendant FLINT GROUP failed to engage in a timely, good faith, interactive

22    process with PLAINTIFF to determine effective reasonable accommodations for PLAINTIFF.
             65.     In committing these actions, Defendant FLINT GROUP violated the Fair
23
      Employment and Housing Act.
24
             66.     Defendant FLINT GROUP committed the acts alleged herein oppressively and
25    maliciously, with the wrongful intention of injuring PLAINTIFF, from an evil and improper
26    motive amounting to malice, and in conscious disregard of PLAINTIFF’s rights, in that
27    Defendant FLINT GROUP failed to engage in a timely, good faith, interactive process with
28

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 1    PLAINTIFF despite the fact that they were aware that PLAINTIFF were disabled. Thus,
 2    PLAINTIFF is entitled to recover punitive damages from Defendant FLINT GROUP .
             67.     As a proximate result of the acts of Defendant, Plaintiff has suffered damages in
 3
      an amount according to proof.
 4
             WHEREFORE, PLAINTIFF prays for judgment against Defendant FLINT GROUP as
 5
      set forth below.
 6                                NINTH CAUSE OF ACTION FOR
 7                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 8                                    (Against all DEFENDANTS)

 9           68.     PLAINTIFF repleads and realleges paragraphs 1 through 66, inclusive, of
      this First Amended Complaint, and they are incorporated herein by this reference.
10
             69.     As alleged herein, these DEFENDANTS and DOES 1 through 100, inclusive,
11
      and/or their agents/employees engaged in outrageous conduct towards PLAINTIFF with the
12    intent to cause or with reckless disregard for the probability of causing PLAINTIFF to
13    suffer severe physical and emotional distress. To the extent that such outrageous conduct
14    (as alleged herein) was perpetrated by certain FLINT GROUP employees, the remaining
15    DEFENDANTS confirmed and ratified such conduct with the knowledge that
      PLAINTIFF’s emotional and physical distress would thereby increase, and with a wanton
16
      and reckless disregard for the deleterious consequences to PLAINTIFF.
17
             70.     As a direct and proximate result of DEFENDANTS’' unlawful conduct,
18
      PLAINTIFF has suffered and will continue to suffer physical injuries, pain and suffering
19    and extreme and severe mental anguish and emotional distress; PLAINTIFF has incurred
20    and will continue to incur medical expenses for treatment by psychiatrists and other health
21    professionals, and for other incidental medical expenses; and PLAINTIFF has suffered and

22    continues to suffer a loss of earnings and other employment benefits. PLAINTIFF is
      thereby entitled to general and compensatory damages in amounts to be proven at trial.
23
             71.     The conduct of DEFENDANTS alleged herein was malicious, willful, and
24
      oppressive with the intent to physically harm PLAINTIFF. DEFENDANTS engaged in
25    despicable conduct and acted with the conscious disregard of PLAINTIFF’s rights and with
26    an intent to injure PLAINTIFF, such as to constitute oppression and malice under
27    California Code of Civil Procedure §3294. PLAINTIFF is thereby entitled to punitive and
28    exemplary damages in an amount sufficient to punish and make an example of


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 1    DEFENDANTS.
 2
                                              PRAYER
 3
            WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS as follows:
 4
            1.     On All Causes of Action
 5
                   (a)    For actual and/or compensatory damages in favor of PLAINTIFF and
 6                        against each DEFENDANT in an amount to be ascertained at the time of
 7                        trial;
 8                 (b)    For punitive and/or exemplary damages in favor of PLAINTIFF and

 9                        against DEFENDANTS:
                   (c)    For interest on any actual or compensatory damages PLAINTIFF may
10
                          obtain against DEFENDANTS;
11
                   (d)    For interest on any punitive and/or exemplary damages PLAINTIFF may
12                        obtain against DEFENDANTS;
13                 (e)    For PLAINTIFF’s cost of suit, including attorneys’ fees; and,
14                 (f)    Injunctive and declaratory relief to address the wrongs alleged herein;
15                 (g)    For such other and further relief as this Court may deem just and proper.
16
17    Dated: August 6, 2021                                 ELLISON & ASSOCIATES APC
                                                                /s/CHRIS ELLISON
18
                                                          By:____________________________
19                                                           CHRISTOPHER B. ELLISON
                                                             Attorney for PLAINTIFF
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28

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